Case 4:17-cv-00630-TCK-JFJ Document 14 Filed in USDC ND/OK on 01/30/18 Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OKLAHOMA

     JASON SEWARD and LYNNETTA
     SEWARD, husband and wife

                          Plaintiffs,
                                                               Case No. 17-CV-630-TCK-JFJ
           v.

     HUDSON INSURANCE COMPANY,

                          Defendant.

                            NOTICE OF DISMISSAL WITHOUT PREJUDICE

               Pursuant to Rule 41(aa)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs hereby

  dismiss this action without prejudice.

               Dated this 30th day of January 2018.

                                                        /s/ G. Steven Stidham
                                                        G. Steven Stidham, OBA #8633
                                                        StidhamLaw, P.C.
                                                        204 Reunion Center
                                                        Nine East Fourth Street
                                                        Tulsa,OK 74103-4706
                                                        gstidham@stidhamlawpc.com
                                                        T: (918) 707-8800
                                                        F: (918) 707-8808
                                                        ATTORNEYS FOR PLAINTIFFS




  {1787851;}
Case 4:17-cv-00630-TCK-JFJ Document 14 Filed in USDC ND/OK on 01/30/18 Page 2 of 2




                                CERTIFICATE OF SERVICE

         I hereby certify that on January 30, 2018, I electronically transmitted the foregoing
  document to the Clerk of Court using the ECF System for filing and transmittal of a Notice of
  Electronic Filing to the following ECF registrants (names only are sufficient):

  John Henry Rule
  Justin A. Lollman

                                                /s/ G. Steven Stidham
                                                G. Steven Stidham




  {1787851;}                                   2
